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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   --------------------------------------------------------------X
   In re:
                                                                     Chapter 7
   STEVEN HIRALDO,                                                   Case No. 22-11623
                                                        Debtor.
   --------------------------------------------------------------X
   RAUL MATOS,
                                                       Plaintiff,

                         -against-                                   Adv. Proc. No. 23-01011

   STEVEN HIRALDO,                                                   CASE MANAGEMENT
                                                                     & SCHEDULING ORDER

   Defendant.
   --------------------------------------------------------------X


          This Case Management and Scheduling Order is entered by the Court, following a

  Scheduling Conference held on April 26, 2023, in accordance with Fed. R. Civ. P. 16(b)

  and 26(f).

          1. Amended pleadings may not be filed and additional parties may not be joined

  except with leave of the Court. Any motion to amend or to join additional parties shall be

  filed no later than July 5, 2023.

          2. Initial disclosure pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no

  later than May 16, 2023.

          3. All fact discovery shall be completed no later than August 30, 2023.

          4. The parties are to conduct discovery in accordance with the Federal Rules of

  Civil Procedure (“Civil Rules”), Federal Rules of Bankruptcy Procedure (“Bankruptcy

  Rules”) and the Local Rules of the Bankruptcy Court for the Southern District of New

  York (“Local Bankruptcy Rules”).


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          5. Expert discovery

          a. All expert discovery shall be completed no later than October 16, 2023.

          b. No later than July 31, 2023, the parties shall meet and confer on a schedule for

  expert disclosures, including reports, production of underlying documents and

  depositions, provided that (i) plaintiff(s)’ expert report(s) shall be due before those of

  defendant(s)’ expert(s); and (ii) all expert discovery shall be completed by the date set

  forth in paragraph 5(a).

          6. Motions

          a. All motions and applications shall be governed by the Civil Rules, Bankruptcy

  Rules and Local Bankruptcy Rules, including pre-motion conference requirements.

  Pursuant to the authority provided by Fed. R. Civ. P. 16(b)(2), a motion for summary

  judgment will be deemed untimely unless a request for a pre-motion conference relating

  thereto (see Local Bankruptcy Rule 7056-1) is made in writing no later than September

  13, 2023.

          b. Motion papers shall be filed promptly after service. All motions, and courtesy

  copies of motions, shall include a table of contents listing all affidavits and exhibits.

  Affidavits and exhibits shall be clearly identified by tabs on both the original and

  courtesy copies. Exhibits shall be marked sequentially such that no exhibit number or

  letter repeats, regardless of the affidavit to which it is attached. Exhibits for plaintiffs

  should be marked by numbers; exhibits for defendants should be marked by letters.

          c. Two courtesy copies of all motion papers shall be delivered to chambers as

  soon as practicable after filing.




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         d. Unless prior permission has been granted, memoranda of law in support of

  and in opposition to motions are limited to 30 pages, and reply memoranda are

  limited to 15 pages. All memoranda shall be double-spaced, 12-point font, with 1”

  margins. Memoranda of 10 pages or more shall contain a table of contents and a

  table of authorities.

         e. Prior to filing a motion, counsel for the moving party shall contact my

  Courtroom Deputy, Maria Rodriguez-Castillo, by email to obtain a hearing date for the

  motion.

         7. All counsel must meet face-to-face to discuss settlement or use of alternative

  dispute resolution (“ADR”) no later than May 16, 2023 and, again, no later than

  September 29, 2023. Counsel shall advise the Court promptly if they agree to use ADR

  to try to resolve some or all of the claims in the case. The use of any ADR mechanism

  does not stay or modify any date in this Order unless the Court agrees on the application

  of any party.

         8. Counsel shall submit a proposed Joint Pretrial Conference Order no later than

  November 15, 2023.

         9. In the event of any discovery dispute in this action, counsel shall first meet and

  confer in an effort to resolve the dispute. If counsel are unable to resolve the dispute,

  counsel for any party seeking assistance from the Court shall, before filing any discovery

  motion, arrange a conference call with the Court with all counsel involved in the dispute.

  The Court will endeavor to resolve the dispute without the filing of any discovery

  motions.




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           10. The next Case Management Conference is scheduled for July 20, 2023, at

  10:00 am EST.

           11. This ORDER may not be modified or the dates herein extended, except by

  further Order of this Court for good cause shown. Any application to modify or extend

  any deadline established by this Order shall be made in a written application no less than

  5 days prior to the expiration of the date sought to be extended.

  Dated:     May 2, 2023
             New York, New York


                                                       /S/ John P. Mastando III______
                                                       John P. Mastando III
                                                       United States Bankruptcy Judge




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